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				REINSTATEMENT OF CERTIFICATE OF CERTIFIED SHORTHAND REPORTERS2017 OK 38Decided: 05/09/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 38, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION.



RE: Reinstatement of Certificate of Certified Shorthand Reporters



CORRECTED
O R D E R



The Oklahoma Board of Examiners of Certified Shorthand Reporters has recommended to the Supreme Court of the State of Oklahoma that the certificate of each of the Oklahoma Certified Shorthand Court Reporters named below be reinstated as these reporters have complied with the continuing education requirements for calendar year 2016 and/or with the annual certificate renewal requirements for 2017, and have paid all applicable penalty fees.

IT IS HEREBY ORDERED that, pursuant to 20 O.S., Chapter 20, App. 1, Rules 20 and 23, the certificate of the following court reporter is reinstated from the suspension earlier imposed by this Court:

&nbsp;



	
		
			
			Name &amp; CSR #
			
			
			Effective Date of Reinstatement
			
		
		
			
			Teresa St. Clair, CSR # 1267
			
			
			March 27, 2017
			
		
		
			
			Michelle Watson, CSR # 1771
			
			
			April 14, 2017
			
		
	



&nbsp;

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 8TH day of May, 2017.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR






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